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                        UNITED STATES DISTRICT COURT
17                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18                                (San Diego)
19 AL OTRO LADO, Inc., et al.,                    Case No. 3:17-cv-02366-BAS-KSC
20             Plaintiffs-Appellees,
                                                  NOTICE OF PRELIMINARY
21                                                INJUNCTION APPEAL
                        v.
22
23 CHAD F. WOLF, Acting Secretary of
24 Homeland Security; Mark A. MORGAN,
   Acting Commissioner of U.S. Customs
25 and Border Protection; and William A.
26 FERRARA, Executive Assistant Com-
   missioner of U.S. Customs and Border
27 Protection’s Office of Field Operations,
28
     Case 3:17-cv-02366-BAS-KSC Document 634 Filed 12/02/20 PageID.55650 Page 2 of 5




1 in their official capacities,*
2                       Defendants-Appellants,
3
                         and
4
5 the EXECUTIVE OFFICE FOR IMMI-
  GRATION REVIEW,
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                Appellants.
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27     *
        Acting Commissioner Morgan and Executive Assistant Commissioner Ferrara are
28     automatically substituted as Defendants for their predecessors in office pursuant to
       Federal Rule of Civil Procedure 25(d).
     Case 3:17-cv-02366-BAS-KSC Document 634 Filed 12/02/20 PageID.55651 Page 3 of 5




1                                    NOTICE OF APPEAL
2            Defendants-Appellants Chad F. Wolf, Acting Secretary of Homeland Secu-
3      rity; Mark A. Morgan, Acting Commissioner of U.S. Customs and Border Protection
4      (CBP); and William A. Ferrara, Executive Assistant Commissioner of CBP’s Office
5      of Field Operations, in their official capacities, and Appellant the Executive Office
6      for Immigration Review (EOIR)1 hereby appeal from this Court’s October 30, 2020
7      Order Granting Plaintiffs’ Motion for Clarification of the Preliminary Injunction
8      (ECF No. 605) to the U.S Court of Appeals for the Ninth Circuit.
9      //
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         EOIR is not a party to this litigation. It nevertheless appeals from the Order Grant-
25     ing Plaintiffs’ Motion for Clarification of the Preliminary Injunction (ECF No. 605)
       because that Order states that “EOIR is bound by the terms of the” Order Granting
26
       Plaintiffs’ Motion for Preliminary Injunction (ECF No. 330). See EEOC v. Pan Am.
27     World Airways, Inc., 897 F.2d 1499, 1504 (9th Cir. 1990) (non-parties may “appeal
28     where they actually participated in proceedings before the district court and the eq-
       uities weigh in favor of hearing the appeal”).

                                                 1              NOTICE OF APPEAL FROM ORDER
                                                                       CLARIFYING PRELIM. INJ.
                                                                  Case No. 3:17-cv-02366-BAS-KSC
     Case 3:17-cv-02366-BAS-KSC Document 634 Filed 12/02/20 PageID.55652 Page 4 of 5




1      DATED: December 2, 2020           Respectfully submitted,
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                                           2             NOTICE OF APPEAL FROM ORDER
                                                                CLARIFYING PRELIM. INJ.
                                                           Case No. 3:17-cv-02366-BAS-KSC
     Case 3:17-cv-02366-BAS-KSC Document 634 Filed 12/02/20 PageID.55653 Page 5 of 5




1                                CERTIFICATE OF SERVICE
2                   Al Otro Lado v. Wolf, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
3            I certify that I served a copy of this document on the Court and all parties by
4      filing this document with the Clerk of the Court through the CM/ECF system, which
5      will provide electronic notice and an electronic link to this document to all counsel
6      of record.
7
8      DATED: December 2, 2020                Respectfully submitted,
9
                                              /s/ Alexander J. Halaska
10                                            ALEXANDER J. HALASKA
11                                            Trial Attorney
                                              United States Department of Justice
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                                                3              NOTICE OF APPEAL FROM ORDER
                                                                      CLARIFYING PRELIM. INJ.
                                                                 Case No. 3:17-cv-02366-BAS-KSC
